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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                              )
                                                       )               8:11CR331
                       Plaintiff,                      )
                                                       )
       vs.                                             )                 ORDER
                                                       )
MAUDE T. HILL,                                         )
                                                       )
                       Defendant.                      )


       This matter is before the court on the motion for an extension of time by defendant Maude
T. Hill (Hill) (Filing No. 24). Hill seeks an additional two weeks in which to file pretrial motions in
accordance with the progression order. Hill's counsel represents that government's counsel has
no objection to the motion. Upon consideration, the motion will be granted.


       IT IS ORDERED:
       Defendant Hill's motion for an extension of time (Filing No. 24) is granted. Hill is given until
on or before November 3, 2011, in which to file pretrial motions pursuant to the progression order.
The ends of justice have been served by granting such motion and outweigh the interests of the
public and the defendant in a speedy trial. The additional time arising as a result of the granting
of the motion, i.e., the time between October 19, 2011, and November 3, 2011, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act for the
reason defendant's counsel requires additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


       DATED this 19th day of October, 2011.
                                                       BY THE COURT:

                                                       s/Thomas D. Thalken
                                                       United States Magistrate Judge
